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IN THE UNITED STATES DISTRICT COURT
FoR THE NORTHERN DistTRIcT OF FLORIDA
TALLAHASSEE DIVISION

NETCHOICE, LLC d/b/a NETCHOICE, Civil Action No.: 4:21-cv-00220-

a 501(c)(6) District of Columbia RH-MAF
organization; and COMPUTER &
COMMUNICATIONS INDUSTRY DECLARATION OF NEIL POTTS

ASSOCIATION d/b/a CCIA, a 501(c)(6)| IN SUPPORT OF PLAINTIFES”
non-stock Virginia corporation, MOTION FOR PRELIMINARY

INJUNCTION

Plaintiffs,
V.

ASHLEY BROOKE MOODY, in her
official capacity as Attorney General of
the State of Florida; JONI ALEXIS
POITIER, in her official capacity as
Commissioner of the Florida Elections
Commission; JASON TODD ALLEN, in
his official capacity as Commissioner of
the Florida Elections Commission;
JOHN MARTIN HAYES, in his official
capacity as Commissioner of the Florida
Elections Commission; KY MBERLEE
CURRY SMITH, in her official capacity
as Commissioner of the Florida
Elections Commission; and PATRICK
GILLESPIE, in his official capacity as
Deputy Secretary of Business Operations
of the Florida Department of
Management Services,

Defendants.

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I, Neil Potts, declare as follows:
1. Iam currently a Vice President, Trust & Safety Policy, at Facebook, Inc.
(“Facebook”), and have been employed there since April 2016. I am over the age
of 18 years and maintain an office at 1601 Willow Road, in Menlo Park,
California. I make this Declaration in support of Plaintiffs’ Motion for Preliminary
Injunction in the above-captioned matter. I have personal knowledge of the matters
set forth in this Declaration and if called as a witness, I could and would testify
under oath as follows.
2. Inmy role at Facebook, I am familiar with Facebook’s content policies and
practices, including Facebook’s Terms of Service and Community Standards.
Background
3. Facebook was founded in 2004. Its products enable more than 3 billion
people around the world to share ideas, offer support, and discuss important issues,
including politics, public health, and social issues. Users of Facebook’s products
share over a billion stories and over 100 billion messages, every day.
4. On Facebook, people can share status updates, photos, videos, and links
(among other types of content) with family and friends. People can also follow
Pages managed by businesses, organizations, and public figures (such as

politicians or celebrities) that share content, as well as join Groups or attend Events
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that relate to topics of interest to them. These are some of the many ways in which
people can share and interact with others on Facebook.

5. The average person could be flooded with millions of posts each day from
people all over the world, but most people do not have time (or interest) to look at
all of their available content. As a result, Facebook has invested significant
resources to develop systems to “rank” content that users are most likely to find
relevant and meaningful. The rankings are unique to each user and are informed by
their individual choices and actions (both historical and real-time).

6. Facebook displays ranked content in News Feed, a feature it launched in
2006. News Feed uses algorithms to show a constantly updated and personalized
list of stories--for example, vacation pictures from friends, videos from family
gatherings, articles from local or national news outlets, and much more.

Content Moderation

7. Facebook’s mission is to empower people to build community and bring the
world closer together.

8. Facebook has invested substantial resources to maintain a safe experience
for its community. People will not use Facebook if they do not feel safe. Similarly,
advertisers will not advertise on Facebook if they believe it is not effective at
removing harmful or offensive content. Users and advertisers have stopped using

Facebook for this very reason.
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9. Facebook has long recognized the importance of giving its users a voice and
allowing debate on topics about which people may disagree. But content that
harasses, threatens, seeks to defraud, or violates the rights of other users makes the
community less safe and/or puts people at risk of harm.

10. Facebook has over many years developed robust policies and practices
relating to content moderation. Facebook continues to refine these policies and
practices based on its experience, evolving societal norms, extraordinary current
events, and input from external stakeholders and experts (among others).
Moderating speech often involves difficult judgment calls--a task further
complicated by the sheer volume of content appearing online, global reach of
Facebook’s products, and absence of vital context typically accompanying speech
in the offline world.

11. Facebook’s publicly available Terms of Service! (to which people must
agree to use the service) and Community Standards’ (which people agree not to
violate) describe what content is acceptable. Facebook has had terms and policies

like these in place for many years, though the specific requirements have evolved.

1 Facebook’s Terms of Service is available at: https://www.facebook.com/terms.php.
2 Facebook’s Terms of Service is available at: https://www.facebook.com/communitystandards/.
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12. The Terms of Service prohibit users from doing or sharing anything that is
“unlawful, misleading, discriminatory or fraudulent” or that “infringes or violates
someone else’s rights, including their intellectual property rights.”

13. The Community Standards provide details about what content is not allowed
on Facebook. The Community Standards are organized into five categories:

(i) violence and criminal behavior, (ii) safety, (iii) objectionable content,

(iv) integrity and authenticity, and (v) respecting intellectual property. Within each
of those five categories, the Community Standards identify additional
subcategories, such as “adult nudity and sexual activity” or “hate speech.” Users
can see Facebook’s policy rationale for prohibiting each category of content and
examples. For example, the Community Standards explain that “hate speech” is not
allowed on Facebook. Notwithstanding, Facebook recognizes that people
sometimes share content that includes someone else’s hate speech to condemn it or
raise awareness. In other cases, speech that might otherwise violate our standards
can be used self-referentially or in an empowering way. Facebook’s policies are
designed to allow room for these types of speech. The Community Standards also
include information about when content may be accompanied by a sensitivity
warning.

14. Facebook relies on both automated and human review to enforce its terms

and policies at scale. For many categories, Facebook’s artificial intelligence
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systems find more than 90% of the content it removes before anyone reports it.
Facebook also has over 35,000 people working on safety and security. Teams
across the company work together to, for example, prevents millions of attempts to
create fake Facebook accounts and remove million pieces of content containing
adult nudity, sexual activity, bullying and harassment, child nudity and sexual
exploitation of children, and hate speech, content shared by terrorist and organized
hate groups, and content that violates intellectual property rights. Facebook
publicly shares information about its enforcement efforts in its Transparency
Center.

15. Facebook regularly publishes updates about its efforts to remove harmful
content and protect its community. For example, in September 2018, Facebook
published an article on how it uses artificial intelligence on Facebook to help
suicide prevention efforts.* In October 2019, Facebook published an article about
the substantial efforts it had undertaken to protect against efforts to interfere with
the 2020 U.S. election.’ In June 2020, Facebook published an article related to
labels it would add to content and ads from entities believed to be state-controlled

media; in February 2021, Facebook announced it would add informational labels to

3 Facebook’s Transparency Center is available at: https://transparency.fb.com/data/.
4 https://about.fb.com/news/2018/09/ inside-feed-suicide-prevention-and-ai/.
> https://about.fb.com/news/2019/1 0/update-on-election-integrity-efforts/.

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some posts related to climate change.® In May 2021, Facebook published a threat
report on efforts it is taking to protect against influence operations aimed at
manipulating or corrupting public debate on Facebook by governments,
commercial entities, politicians, and conspiracy and fringe political groups.’

16. Facebook has had to implement changes to its policies and practices in
response to extraordinary situations. For example, following Myanmar’s military
coup in February 2021, Facebook reduced the distribution of misinformation
shared by the Myanmar military but also protected content, including political
speech, that allowed “the people of Myanmar to express themselves.” Facebook
also revised its policies as information emerged during the COVID-19 pandemic.?
17. Facebook has an appeals process for users to request review of most of its
enforcement decisions. If Facebook determines it made an incorrect judgment, it
will restore the content. In May 2020, Facebook established an external Oversight
Board to review some of the most difficult enforcement decisions; the Oversight
Board’s decisions are binding on Facebook. Facebook also relies on independent,

third-party fact-checkers to help identify and review certain types of content. Ifa

6 https://about.fb.com/news/2020/06/labeling-state-controlled-media/;
https://about.fb.com/news/2021/ 02/connecting-people-with-credible-climate-change-
information/.

7 https://about.fb.com/news/2021/05/ influence-operations-threat-report/.

8 https://about.fb.com/news/202 1/02/an-update-on-myanmar/.

* https://about.fb.com/news/2020/04/covid-19-misinfo-update/.

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fact-checker determines a particular post contains false information, Facebook will
label the content and reduce its distribution.

18. Facebook also has tools that enable users to curate their own News Feeds--
for example, choosing a list of “Favorite” friends and pages to feature, and
blocking content from certain users or Pages or reporting content they believe is
inappropriate. Facebook has rolled out other features in response to feedback, such
as the ability to turn off a counter displaying how many people have “liked” a post
or photo.

19. Facebook has implemented a number of changes over the years to the way it
ranks and prioritizes content in News Feed. For example, in January 2018,
Facebook announced changes to prioritize content from friends, family, and
Groups in News Feed. Facebook recognized this change would likely decrease the
amount of time users spent on Facebook, which it did, but believed it would be
good for the community and its business over the long term. Facebook also
announced recently that users were requesting to sec less political content in their

News Feeds and so it was studying ways to reduce the prominence of such posts,"

10 https://about.fo.com/news/2021/02/reducing-political-content-in-news-feed/ ‘

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S.B. 7072’s Impact on Facebook

20. Iunderstand that on or around May 25, 2021, the State of Florida enacted
S.B. 7072, 2021 Leg. (Fla. 2021) (the “Act”), which is set to go into effect on July
1, 2021. I understand Facebook’s products will be subject to the Act.

21. The Act will significantly undermine, if not outright prevent, Facebook from
enforcing its content policies and will require substantial and burdensome changes
to the design and operation of its products. I will describe some examples below.
22. Tunderstand the Act will severely restrict Facebook’s ability to enforce its
policies against people or entities that qualify as “journalistic enterprises.” To the
extent Facebook can know who even qualifies, this requirement apparently will
force Facebook to carry content posted by any entity meeting this definition,
regardless of whether they post hate speech, or sexually explicit or graphic content.
Nor apparently could Facebook remove content from a “Journalistic enterprise”
engaged in U.S. election interference. This provision also seemingly prevents
Facebook from adding labels to content from media companies Facebook believes
are controlled by foreign governments.

23. Lunderstand the Act will prohibit services like Facebook from terminating or
suspending the accounts of “political candidates,” no matter how egregious or

illegal the candidate’s conduct. Likewise, Facebook apparently could not remove a
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candidate’s account even if she or he were believed to be a foreign operative
interfering in U.S. elections.

24, Further, I understand the Act will prevent Facebook from enforcing its
policies against content anyone might post “about” such candidates. This
provision apparently would prevent Facebook from removing hate speech or
violent threats directed at a candidate and labelling content believed to be an AI-
modified video, or a “deep fake.”

25. Lunderstand the Act mandates enforcement of content policies in an
undefined “consistent manner.” I understand Facebook could face liability if, for
example, it removed or reduced the distribution of content posted by one user, but
not similar content posted by another user, regardless of where such users resided
and/or shared the content and regardless of vital context. Because Facebook users
reside throughout the world and can share content with anyone, and Facebook
enforces its policies globally, the Act effectively will impact more than 2 billion
Facebook users around the world.

26. Furthermore, given the sheer volume of content posted on Facebook every
day, and because the service is personalized based on what individual users want to
see, it will be near impossible for Facebook to treat similar content “consistently”
in every instance (even though it endeavors to do so). Facebook will face the

impossible choice of ceasing enforcement of its policies and no longer
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personalizing the product experience, or incurring potentially significant liability
from treating allegedly similar content differently, even if inadvertently. Facebook
apparently will be precluded from shielding teens from content containing violence
or nudity. And Facebook will be forced to consider extraordinary changes to its
algorithms and other ranking systems, to mitigate the risk that it is charged with
treating similar content “inconsistently.”

27. Tunderstand the Act will restrict Facebook’s ability to label content, given
the potential charge that labels are applied “inconsistently.” Facebook effectively
will be precluded from warning users, including teens, before viewing graphically-
violent content or about content independent fact-checkers have determined is
false.

28. Tunderstand the Act will impose disclosure obligations every time Facebook
removes content that violates its policies or, potentially, when Facebook prioritizes
content (which happens every time a user loads her or his News Feed since our
product experiences are personalized). Given the extraordinary scale of Facebook’s
systems and enforcement efforts, as described above and in Facebook’s
transparency reports, this provision would impose an enormous burden on
Facebook, to the extent compliance is even feasible. The Act would also give bad
actors a roadmap for evading Facebook’s enforcement efforts and make it harder to

keep harmful content off Facebook.

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29. Lunderstand the Act requires Facebook to “categorize algorithms used for
post-prioritization and shadow banning.” Though the Act does not explain what
information is sufficient to satisfy these requirements, it seemingly requires
Facebook to disclose non-public, sensitive information regarding how its
algorithms and internal processes operate, which would cause substantial
competitive harm to Facebook.
30.  Inshort, if the Act’s restrictions go into effect, it will, among other things,
force Facebook to display, arrange, and prioritize content it would otherwise
remove, restrict, or arrange differently; it will chill Facebook’s own speech; it will
lead some users and advertisers to use Facebook less or stop use entirely; it will
force Facebook to substantially modify the design and operation of its products; it
will force Facebook to disclose highly sensitive, business confidential information;
and it will impose excessive burdens on Facebook to notify users every time their
content is removed, restricted, or labeled.

I declare under penalty of perjury under the laws of the United States that

the foregoing is true and correct.
Executed on this 3rd day of June, 2021, in Fall Church, Virginia.

DocuSigned by:
Ze EE
ae

Neil Potts

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